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               Attachment 3

    U.S. Coast Guard
Authentication Declaration
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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
__________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
                                          )
                  Plaintiff,              )  Civil Action No.
                                           )
            v.                            )
                                          )
GREG ABBOTT, in his capacity as GOVERNOR )
OF THE STATE OF TEXAS, and THE STATE OF )
TEXAS,                                    )
                                          )
                  Defendants.             )
__________________________________________)

     DECLARATION OF CAPT BRANDY PARKER REGARDING NAVIGABILITY
              DETERMINATION OF THE RIO GRANDE RIVER

1.     My name is Brandy Parker. I am either personally acquainted with the facts herein stated

or have otherwise been made aware of them through the course of my duties, and declare as follows:

2.     I am employed by the United States Coast Guard within the Department of Homeland

Security and am located in New Orleans, Louisiana. I have served in the Coast Guard for 26 years.

3.     I am currently assigned as the Staff Judge Advocate in Coast Guard District 8 (“CGD8”),

which is the Coast Guard area of responsibility that encompasses the Rio Grande River. In this

position, I am responsible for providing legal advice to the Commander, CGD8, managing a staff

of attorneys in the performance of their duties, and maintaining records of navigability

determinations.

4.     As part of my duties, I routinely review Coast Guard navigability determinations for

waterways within the CGD8 area of responsibility.

5.     Navigable waters of the United States are defined in 33 C.F.R. § 2.36. Navigability

determinations of specific waterways are routinely made and reviewed by the Coast Guard in order

to determine its jurisdiction. See 33 C.F.R. § 2.40. “Copies of these determinations are maintained
                                                 1
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                      EXHIBIT A
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